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    8                         UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
    9                              SOUTHERN DIVISION
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        SKYWORKS SOLUTIONS, INC.,             Case No.: 8:24-cv-00974-FWS-ADS
   11                   Plaintiff,   [PROPOSED] ORDER GRANTING
   12
                                     SKYWORKS’ APPLICATION TO
                       v.            FILE UNDER SEAL CERTAIN
   13
                                     DOCUMENTS IN SUPPORT OF ITS
        KANGXI COMMUNICATION         EX PARTE APPLICATION FOR
   14   TECHNOLOGIES (SHANGHAI)      LEAVE   TO SERVE ITS FIRST
                                     AMENDED COMPLAINT ON
        CO., LTD., GRAND CHIP LABS,  FOREIGN DEFENDANT RUIJIE
   15
        INC., D-LINK CORPORATION, D- VIA E-MAIL PURSUANT TO FED.
   16   LINK SYSTEMS, INC., AND      R. CIV. P. 4(F)(3)
        RUIJIE NETWORKS CO., LTD.,
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   18                   Defendants.
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                                       #:1059



    1         This matter is before the Court pursuant to Plaintiff Skyworks Solutions,
    2   Inc.’s (“Skyworks”) Application To File Under Seal Certain Documents In Support
    3   Of Its Ex Parte Application For Leave To Serve Its First Amended Complaint On
    4   Foreign Defendant Ruijie Via E-Email Pursuant To Fed. R. Civ. P. 4(f)(3) and
    5   Exhibit 3 (“Application”). Having considered the briefing, supporting documents,
    6   and all other matters properly before the Court, being fully advised on the pleadings,
    7   and for good cause appearing:
    8         IT IS HEREBY ORDERED THAT Skyworks’ Application is GRANTED.
    9   Skyworks shall file under seal its Ex Parte Application For Leave To Serve Its First
   10   Amended Complaint On Foreign Defendant Ruijie Via E-Email Pursuant To Fed. R.
   11   Civ. P. 4(f)(3) and Exhibit 3.
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   13         IT IS SO ORDERED.
   14

   15   Dated: _______________                           ____________________
   16
                                                         The Hon. Fred W. Slaughter
                                                         U.S. District Judge
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                                         [PROPOSED] ORDER REGARDING SKYWORKS’ APPLICATION TO FILE UNDER SEAL
                                                                           CASE NO.: 8:24-cv-00974-FWS-ADS
